EXHIBIT 23
                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER et al.,                               Case No. 1:25-CV-10910-ADB

                         Plaintiffs,

                 v.

 UNITED STATES DEPARTMENT OF
 JUSTICE et al.,

                         Defendants.



                                   Declaration of Walter Willett

I, Walter Willett, hereby declare as follows:

         1.    I am a Professor of Epidemiology and Nutrition at the Harvard T.H. Chan School

of Public Health (“HSPH”). I am also the director of the Thich Nhat Hanh Center for Mindfulness

in Public Health. I previously served as the Chair of the Department of Nutrition at HSPH (1991-

2017).

         2.     I hold a Masters and Doctorate of Public Health from HSPH. I also hold an M.D.

from the University of Michigan Medical School.

         3.     I am over the age of 18 and competent to testify as to the matters set forth in this

affidavit based on my own personal knowledge.

         4.     My research focuses on the risk factors for heart disease, cancer, and other condi-

tions. For more than 40 years, I have studied the effects of diet on the occurrence of major diseases.

I have published more than 2,000 original academic research papers and reviews. I am the most

cited nutritionist internationally and am one of the most widely cited clinical scientists in the world.
I have written a textbook on nutritional epidemiology and several books for the general public,

including the bestselling Eat, Drink, and Be Healthy.

       5.      I am a member of the American Association of University Professors (“AAUP”)

and AAUP–Harvard Faculty Chapter.

       6.      I am aware that the Trump administration has taken a series of actions targeting

Harvard. In particular, I am aware that on March 10, 2025, the federal government sent a letter to

Harvard and other universities warning of potential enforcement actions. I am aware that on March

31, 2025, the federal government announced a comprehensive review of federal contracts and

grants at Harvard University and its affiliates. I am aware that officials from the Trump admin-

istration sent a letter to Harvard on April 3, 2025 demanding that Harvard immediately take a long

list of actions to remain a recipient of federal funding (the “April 3 Letter”). I am aware that this

was followed by a subsequent letter from Trump administration officials on April 11, 2025 with

more detailed demands that “incorporate[d] and supersede[d] the terms” of the April 3 Letter and

which the Trump administration proposed would serve “as the basis for an agreement in principle

that will maintain Harvard’s financial relationship with the federal government” (the “April 11

Letter,” and together with the April 3 Letter, the “Demand Letters”). Both of the Demand Letters

were made public and I have read the demands listed in the Demand Letters.

       7.       I am aware that, on April 14, 2025, the DOJ Task Force to Combat Anti-Semitism

froze over $2.2 billion in federal grants to Harvard. I understand that the federal government has

since refused to disburse funds obligated to these grants despite receiving requests from Harvard

University to do so.

       8.      I am aware that on May 5, 2025, Secretary of Education Linda McMahon an-

nounced that “Harvard should no longer seek GRANTS from the federal government, since none




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will be provided.” I am aware that on May 6, 2025, the National Institutes of Health (“NIH”)

terminated its grants to Harvard. I am aware that on May 9, 2025, the Department of Agriculture

terminated its grants to Harvard. I am aware that on May 12, 2025, the Department of Energy,

Department of Defense, the National Science Foundation, and the Department of Housing and

Urban Development each terminated their grants to Harvard. Letters communicating each of these

terminations were made public, and I have read each of those letters.

       9.      I am also aware of public statements made by the Trump administration beginning

in early 2025 attacking the work of university researchers and the integrity of American universi-

ties and making a range of threats about how the federal government intended to use its authority

to impose numerous demands on Harvard University specifically.

       10.     I am aware that Harvard University has pledged $250 million in one-time stopgap

funding to replace some of the more than $2 billion in terminated funds. That amount is far from

sufficient to replace the terminated funds for HSPH.

Research Funding

       11.     My work is funded by two major federal grants from the National Cancer Institute

at the NIH. Both grants are to conduct large follow up studies and were supplied through the NIH’s

UO1 mechanism. The NIH terminated both grants on May 6, 2025.

       12.     The first grant funds a study that began in 1989. This study follows a cohort of

116,000 women and seeks to understand how diets and lifestyle relate to the risk of developing

cancer. The primary data for this study comes from questionnaires that the study participants fill

out every two years. My research team has also collected biological samples from many study

participants, including fecal and urine samples. The samples must be kept frozen in repositories.




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       13.     A parallel study started in 1986 has been tracking the diets of 52,000 adult men

from all states in America who get cancer. This study collects data about heart attacks, cancer, and

other conditions that share risk factors with heart disease, such as dementia and Parkinson’s dis-

ease. Dozens of other grants studying many diseases have used the dataset collected by this study.

Since its inception, this study has collected biological samples from approximately 30,000 partic-

ipants that are also stored at low temperatures.

       14.     More than 90% of the funding for both studies comes from federal grants. This

money cannot practically be replaced with private funding. Even if previous donors doubled or

tripled their contributions, we still will not have enough money to continue our operations. Harvard

has also informed me that they will not be able to provide funding to supplement what we are

losing in federal funds.

       15.     Without the NIH grants, we will only be able to keep the biological samples frozen

for a few weeks. These samples will spoil if they are allowed to thaw. No other institution in the

world has this data, making our samples irreplaceable.

       16.     Our studies follow up with participants every two years to collect information on

their physical and cognitive functions. We need to conduct the next follow-up within the next year.

Otherwise, some study participants may die before we are able to follow up with them. The termi-

nation of my grants thus jeopardizes our chance to collect data from the living study participants

who have voluntarily contributed personal information over the last four decades. This would de-

prive all Americans from the benefits of knowledge about diet, other aspects of lifestyle, and use

of medications that enhance their possibilities of living longer and healthier lives.

       17.     I will have to lay off highly experienced researchers soon if my grants are not re-

stored. I am currently in the process of identifying staff to layoff. This will be a huge blow to our




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research—these team members have worked with us for many years and have accumulated vast

knowledge about how the studies work. If we let these researchers go, many of them will have to

find other jobs, and I am very concerned about our ability to rehire them even if federal funding is

restored later.

        18.       The situation across HSPH is dire. HSPH relies on federal funding for about 60%

of its operating budget.

        19.       Additionally, much of the research at Harvard and elsewhere that uses my data re-

sources is conducted by international graduate students and scholars who have visas that are being

revoked by the government. This attack has created major uncertainty and fear that is distracting

them from their research.

Impacts on Speech and Academic Freedom

        20.       I worry that our students, when selecting project subject matter, may choose or

change their topics based on fear that certain topics will be at risk due to the Trump administra-

tion’s actions. This would include research on dietary quality in vulnerable groups such as refugees

and low-income groups.



I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.

Dated: May 30, 2025                                   Signed:

                                                      Walter Willett, MD, DrPH
                                                      Professor of Epidemiology and Nutrition
                                                      Harvard T.H. Chan School of Public Health




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